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                                                STATEMENT


                   United States Bankruptcy Court, Northern District of Illinois

Name of Assigned Judge         Carol A. Doyle                Case No.             19 B 31037
DATE                           November 13, 2020             ADVERSARY NO.        20 A 00070
CASE TITLE                     State of Indiana v. OBanner


  DOCKET ENTRY TEXT
Debtor Antonio OBanner’s Motion for Contempt is denied.

[For further details see text below.]




                                                STATEMENT


          Antonio OBanner, the debtor in this chapter 7 case, filed a motion for contempt against
   the State of Indiana. He alleges that the State violated the automatic stay before he received his
   discharge and now violates the discharge injunction by pursuing a criminal case against him
   related to unemployment benefits that the State claims he received through fraud. The motion
   is denied.



   1.       Background

           According to an adversary complaint filed by the State, OBanner applied for and
   received unemployment benefits from the State from September 2009 until January 2012 while
   he was employed and therefore not eligible to receive them. The State opened a fraud
   investigation and determined that OBanner had fraudulently obtained the benefits. OBanner did
   not appeal this determination so it became final.




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         In March of 2014, the Lake County, Indiana prosecutor charged OBanner with criminal
welfare fraud, a Class C felony under Indiana law. According to the probable cause affidavit,
OBanner applied for unemployment benefits from the State in 2009 and received weekly benefits
for almost two and a half years. During that time, he filed weekly statements certifying that he
continued to be unemployed. Four months after he stopped receiving benefits, the State
discovered that he had been employed while claiming benefits. The State alleges that he
received more than $42,000 in benefits for which he did not qualify. A warrant was issued for
his arrest in 2014 and served on him in July 2016. The criminal case is still open and
unresolved.

        OBanner filed a chapter 7 bankruptcy case in October 2019 and received a discharge of
his debts in February 2020. The State filed an adversary proceeding seeking a determination that
the debt established in the administrative proceeding is not dischargeable under § 523(a)(2)(A)
of the Bankruptcy Code, 11 U.S.C. § 523(a)(2)(A), because it arose from OBanner’s fraud. The
State also sought a determination that the penalty portion of the debt is not dischargeable under §
523(a)(7) of the Bankruptcy Code, 11 U.S.C. § 523(a)(7). OBanner moved to dismiss the
complaint, arguing in part that the 6-year statute of limitations for collecting the debt had passed.
The State then filed a motion to voluntarily dismiss the complaint, which was granted. The
adversary proceeding was closed.

        In June 2020, OBanner filed the motion now before the court in the closed adversary
proceeding. He seeks an order finding the State in contempt for violating the automatic stay in
11 U.S.C. § 362(a) and for violating the discharge injunction in 11 U.S.C. § 524(a). He also
seeks damages under § 362(k) for emotional distress arising from the alleged stay violation.
OBanner alleges that the State notified him of court dates in the criminal case on January 8,
March 4, March 10, April 22, and June 10, 2020. He claims that the State threatened him with
arrest and incarceration if he did not appear for those hearings.

        The State initially filed a bare-bones response to the motion raising procedural issues and
asserting without authority that it could proceed under the “automatic” exception to discharge in
§523(a)(7). The undersigned judge asked the clerk of court to seek counsel for OBanner from
the court’s panel of volunteer attorneys. The clerk found an attorney who agreed to represent
OBanner on a pro bono basis. That attorney filed an appearance for OBanner and appeared at
two hearings on his behalf. The attorney stated at the second hearing, however, that OBanner
had terminated his employment. The lawyer then filed a motion to withdraw from his
representation of OBanner, which was granted.

        In the meantime, the State filed a supplemental response to OBanner’s motion. The State
argues that its pre-discharge prosecution of the criminal case was permitted under the exceptions
to the automatic stay in §§ 362(b)(1) and (b)(4) of the Bankruptcy Code. It also argues that the
discharge injunction does not apply to criminal proceedings and that the “automatic” exception

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to discharge for criminal restitution awards under § 523(a)(7) applies to any restitution award it
may obtain in the future. The criminal case has not been resolved yet but OBanner argues that
the State has been pressuring him to enter into a plea agreement, part of which he attached to his
reply brief. It provides for a 2-year suspended sentence and requires payment of restitution of
$74,054.40, the amount the State contends OBanner obtained through fraud plus penalties.

       The State is correct on both of its substantive arguments. First, the exception to the
automatic stay in § 362(b)(1) applied to the criminal proceeding so the State was free to pursue it
without violating the stay. Second, the discharge injunction does not apply to stop OBanner’s
criminal proceeding.

2.       Procedural Issues

        As a preliminary matter, the State raises some procedural issues regarding OBanner’s
motion. First, it argues that he improperly filed the motion in the State’s closed adversary
proceeding when he should have moved to reopen his bankruptcy case and filed the motion in
that case. The State is correct. Motions to enforce the automatic stay and discharge injunction
should be filed in the main bankruptcy case, not in a closed adversary proceeding. OBanner is
appearing pro se, however, and the motion has been fully briefed. The court will not require him
to move to reopen the bankruptcy case and re-file his motion there. Instead, the court will direct
the clerk to file all the documents related to OBanner’s motion in the bankruptcy case.

         Second, the State argues that, to the extent OBanner seeks a determination that any
restitution order entered in the future in his criminal case would be dischargeable under §
523(a)(7), he should have requested that relief by filing an adversary proceeding as required by
Rule 7001(6) of the Federal Rules of Bankruptcy Procedure. OBanner has not directly sought a
determination under § 523(a)(7). He has not discussed this exception to discharge in any of the
documents he filed with the court. An adversary proceeding is not required for the relief
OBanner seeks in his motion.

       Finally, the State complains that OBanner should have had to pay a fee to reopen his
bankruptcy case. The State has no standing to make this argument. The court granted
OBanner’s application to waive the filing fee for his bankruptcy case so the reopening fee would
have been waived as well.

3.       Automatic Stay

        OBanner contends that the State’s continued prosecution of the criminal case against him
while the automatic stay was in effect violated the stay. At least one of the court dates and
accompanying threats of arrest took place during OBanner’s bankruptcy case when the automatic


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stay was in effect.1 A debtor alleging a violation of the stay and seeking damages under §
362(k)(1) must establish, by a preponderance of the evidence, that: (1) a bankruptcy petition was
filed; (2) the debtor is an individual under the automatic stay provision; (3) the creditor had
notice of the petition; (4) the creditor's actions were in willful violation of the stay; and (5) the
debtor suffered damages. In re Sori, 513 B.R. 728, 732 (Bankr. N.D. Ill. 2014).

         The State does not deny that the stay was in effect during OBanner’s bankruptcy case or
that it had notice of the case. It argues that two exceptions to the stay - in §§ 362(b)(1) and
362(b)(4) - applied to the criminal case so there was no stay violation. The State is correct. The
stay did not apply to the criminal case.

         Section 362(b)(1) provides that the stay does not apply to “the commencement or
continuation of a criminal action or proceeding against the debtor.” 11 U.S.C. § 362(b)(1).
There is no question that the State’s case against OBanner is a criminal proceeding. He is
charged with the Class C Felony of Welfare fraud. The exception in § 362(b)(1) clearly applies
to that case.

        Section 362(b)(4) provides that there is no stay of an action or proceeding by a
governmental unit to enforce that unit’s police and regulatory power, including the enforcement
of a judgment other than a money judgment. This exception also most likely applies to
OBanner’s criminal case but the court need not address it because the exception in § 362(b)(1)
undoubtedly applies.

       The State did not violate the stay by proceeding with the criminal case against OBanner.
He has no claim for damages based on an alleged stay violation.

4.       Discharge Injunction

        OBanner also seeks an order of contempt for violation of the discharge injunction. He
claims that the State’s continued prosecution of the criminal case after he received his discharge
violates the discharge injunction in § 524(a) of the Bankruptcy Code. He argues that the
criminal case against him is essentially an action to collect the debt he owed the State from the
administrative proceeding, which he contends was discharged in his bankruptcy case. He says
the State is pressing him to enter into a plea agreement that includes a restitution award for the
very debt that was discharged. He therefore contends that the criminal case is an action to
collect on a discharged debt that violates the discharge injunction. This is not correct.


         1
        The automatic stay comes into effect when the bankruptcy petition is filed. 11 U.S.C. §
362(a). The stay remains in effect in an individual’s case until the discharge is entered, after
which the discharge injunction applies. 11 U.S.C. §§ 362(c)(2)(C), 524(a).

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         Nothing in the discharge injunction provisions enjoins a criminal proceeding, even one
that arises from conduct that created a pre-petition debt. Kelly v. Robinson, 479 U.S. 36, 47, 107
S.Ct. 353 (1986); 11 U.S.C. § 524(a). The court has not expressly determined whether the debt
owed by OBanner was discharged in the bankruptcy case,2 and it need not make that
determination to decide the issue regarding the discharge injunction. Assuming that at least the
portion of the debt OBanner owed to the State based on the amount of benefits he received as
determined in the administrative proceeding was discharged, this does not stop the State from
prosecuting him for the alleged crime of welfare fraud regarding the same unemployment
benefits. As Kelly makes clear, the state’s criminal proceeding against OBanner is not affected
by the bankruptcy case.

         In Kelly, the Supreme Court held that a restitution payment imposed as a condition of
probation in a state criminal proceeding for welfare fraud was nondischargeable under §
523(a)(7). The debtor had wrongfully received $9000 in welfare benefits and was convicted of a
larceny under Connecticut law. She was sentenced to prison but the judge suspended the
sentence and placed her on probation. As a condition of probation, the court ordered monthly
restitution payments. She then received a chapter 7 discharge of her debts and filed an adversary
proceeding seeking a determination that the restitution debt was discharged under § 523(a)(7).
The Court rejected her argument, holding that the debt was “automatically” not discharged under
§ 523(a)(7). The Court interpreted § 523(a)(7) “in light of the history of bankruptcy court
deference to criminal judgments and in light of the interests of the States in unfettered
administration of their criminal justice systems.” Id. at 44. It also considered the importance of
“the flexibility of state criminal judges in choosing the combination of imprisonment, fines, and
restitution most likely to further the rehabilitative and deterrent goals of state criminal justice
systems.” Id. at 49. The Court quoted with approval a bankruptcy court decision explaining that
restitution debt is not dischargeable even when the amount that must be paid “precisely matched
the victim’s loss.” Id. at 41. This is because restitution is fundamentally different from an
ordinary debt; the goal of restitution is to promote the rehabilitation of the offender, not to
compensate the victim. Id. The Court concluded: “we hold that § 527(a)(7) preserves from
discharge any condition a state criminal court imposes as part of a criminal sentence.” Id. at 50.




       2
         As explained below on page 6, the State had to file an adversary proceeding within a
short time limit to obtain a determination that the debt was nondischargeable based on fraud
under § 523(a)(2)(A). The State filed a timely adversary proceeding under that provision but it
voluntarily dismissed it so the State cannot contend that the debt was not discharged under §
523(a)(2)(A). The exception to discharge in § 523(a)(7), however, which could apply to the
penalty portion of the underlying debt, is “automatic.” There is no need for a court
determination regarding dischargeability under that provision.

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       Kelly leaves no doubt that the State is free to pursue its criminal action against OBanner
without regard to whether any part of the debt owed to the State through the administrative
proceeding was discharged.

        The state court in OBanner’s criminal case has not entered an order requiring restitution.
Technically, therefore, the question of the dischargeability of any future restitution order is not
ripe - no restitution is currently owed and there is no order to interpret. It should be noted,
however, that if restitution is ordered in the future, under Kelly, the State will not need to get a
court determination that the restitution debt is nondischargeable under § 523(a)(7). The Kelly
court explained that a creditor must file an adversary proceeding to contest the dischargeability
of debts under §§ 523(a)(2), (a)(4), and (a)(6). There is no such obligation for debts discharged
under § 523(a)(7); they are “automatically” not discharged. Id. at 42-43, n.4.

         Thus, the bottom line here is that: (1) the State is free to pursue its criminal case against
OBanner, (2) it is free to seek an order of restitution in that case, and (3) it will not need to
obtain a court determination regarding the nondischargeability under § 523(a)(7) of any
restitution obligation that may be imposed in that case.

5.       Conclusion

        OBanner has failed to present any valid basis for concluding that the State has violated
the automatic stay or the discharge injunction. His motion for contempt is denied


Dated: November 13, 2020




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